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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                        )
In re:                                  )
                                        )                                   Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,      )
                                        )                                   Case No. 19-34054 (SGJ)
                  Debtor.               )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.       )
                                        )
                  Plaintiff,            )
vs.                                     )                                   Adv. Pro. No. 21-03007 (SGJ)
                                        )
HCRE PARTNERS, LLC (n/k/a NEXPOINT REAL )
ESTATE PARTNERS, LLC,)                  )
                                        )
                  Defendant.            )
                                        )

                                      CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 23, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

     •   Order Granting Debtor’s Unopposed Motion for Leave to Serve and File Amended
         Complaint [Docket No. 59]


Dated: August 26, 2021
                                                          /s/ Vincent Trang
                                                          Vincent Trang
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245


1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                   Exhibit A
                                                             Adversary Service List
                                                            Served via Electronic Mail


             Description                        CreditorName                 CreditorNoticeName                         Email
Financial Advisor to Official Committee                                Earnestiena Cheng, Daniel H   Earnestiena.Cheng@fticonsulting.com;
of Unsecured Creditors                  FTI Consulting                 O'Brien                       Daniel.H.O'Brien@fticonsulting.com
                                                                       Melissa S. Hayward, Zachery Z.MHayward@HaywardFirm.com;
Counsel for the Debtor                  Hayward & Associates PLLC      Annable                       ZAnnable@HaywardFirm.com
Counsel for UBS Securities LLC and                                     Andrew Clubok, Sarah          andrew.clubok@lw.com;
UBS AG London Branch                    Latham & Watkins LLP           Tomkowiak                     sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC and                                     Asif Attarwala, Kathryn K.    asif.attarwala@lw.com;
UBS AG London Branch                    Latham & Watkins LLP           George                        Kathryn.George@lw.com
Counsel for UBS Securities LLC and                                     Jeffrey E. Bjork, Kimberly A. jeff.bjork@lw.com;
UBS AG London Branch                    Latham & Watkins LLP           Posin                         kim.posin@lw.com
Counsel for UBS Securities LLC and                                                                   Zachary.Proulx@lw.com;
UBS AG London Branch                    Latham & Watkins LLP           Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
                                                                                                     mclemente@sidley.com;
                                                                       Matthew Clemente, Alyssa      alyssa.russell@sidley.com;
Counsel for Official Committee of                                      Russell, Elliot A. Bromagen,  ebromagen@sidley.com;
Unsecured Creditors                     Sidley Austin LLP              Dennis M. Twomey              dtwomey@sidley.com
                                                                                                     preid@sidley.com;
                                                                       Penny P. Reid, Paige Holden   pmontgomery@sidley.com;
Counsel for Official Committee of                                      Montgomery, Juliana Hoffman, jhoffman@sidley.com;
Unsecured Creditors                     Sidley Austin LLP              Chandler M. Rognes            crognes@sidley.com
Counsel for HCRE Partners, LLC
(n/k/a NexPoint Real Estate Partners,                                  Deborah Deitsch-Perez,           deborah.deitschperez@stinson.com;
LLC)                                    Stinson LLP                    Michael P. Aigen                 michael.aigen@stinson.com




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                             EXHIBIT B
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                                                                    Exhibit B
                                                              Adversary Service List
                                                            Served via First Class Mail

               Description                CreditorName           CreditorNoticeName                   Address1                City   State    Zip
    Counsel for UBS Securities LLC                          Andrew Clubok, Sarah            555 Eleventh Street, NW,
    and UBS AG London Branch         Latham & Watkins LLP   Tomkowiak                       Suite 1000                    Washington DC      20004
    Counsel for UBS Securities LLC                          Asif Attarwala, Kathryn K.      330 North Wabash Avenue,
    and UBS AG London Branch         Latham & Watkins LLP   George                          Ste. 2800                     Chicago    IL      60611
    Counsel for UBS Securities LLC                          Jeffrey E. Bjork, Kimberly A.
    and UBS AG London Branch         Latham & Watkins LLP   Posin                           355 S. Grand Ave., Ste. 100   Los Angeles CA     90071
    Counsel for UBS Securities LLC                          Zachary F. Proulx, Jamie
    and UBS AG London Branch         Latham & Watkins LLP   Wine                            1271 Avenue of the Americas New York     NY      10020
    Counsel for HCRE Partners, LLC
    (n/k/a NexPoint Real Estate                             Deborah Deitsch-Perez,          3102 Oak Lawn Avenue,
    Partners, LLC)                   Stinson LLP            Michael P. Aigen                Suite 777                     Dallas     TX      75219




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